Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 1 of 29 PagelD# 4605

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JEROME SKOCHIN,
et al.,

Plaintiffs,
Vv. Civil Action No. 3:19-cv-49

GENWORTH FINANCIAL, INC.,
et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on CLASS COUNSEL’S MOTION FOR
AN AWARD OF ATTORNEYS’ FEES AND EXPENSES AND SERVICE AWARDS TO THE
NAMED PLAINTIFFS (ECF No. 142) (“Motion for Attorneys’ Fees”).
Class Counsel request that the Court enter an order (1) awarding
attorneys’ fees in the amount of (a) $2,000,000 for the injunctive
relief achieved for the Settlement Class; (b) an additional
contingent payment of an amount between $10,000,000-$24,500,000
which represents 15% of the Cash Damages paid to the Settlement
Class; and (c) payment of litigation expenses in the amount of
$64,398.66 to be paid in accordance with the terms of the JOINT
STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE (ECF No. 137-
3); and (2) awarding service awards of $25,000 to each of the Named
Plaintiffs in connection with their representation of the
Settlement Class. For the reasons set forth below, the Court (1)

AWARDS Class Counsel attorneys’ fees amounting to $2 million and
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 2 of 29 PagelD# 4606

15% of the Settlement Class’ net Cash Damage awards with a cap of
$24.5 million (for a total cap of $26.5 million); (2) GRANTS Class
Counsel’s request for expenses in the amount of $64,398.66; and
(3) GRANTS Class Counsel’s request for a $25,000 service award for
each of the Named Plaintiffs.
I. BACKGROUND

The facts of the broader merits case are set out at length in
the Memorandum Opinion addressing objections to the Settlement.
See Mem. Op., ECF No. 215 (overruling a series of objections to
the final approval of the settlement). The facts and procedural
history of this case are, therefore, presumed known and discussed
only to the extent necessary to aid in the analysis of the present
motion.
The Settlement Process

After litigating this case for approximately eight months,
Class Counsel and Defendants began settlement negotiations under
the supervision of independent mediator, Rodney A. Max of Upchurch
Watson White & Max Mediation Group, Inc. With the assistance of
the independent mediator, the parties participated in three
mediation sessions which were held over a roughly three-week period
in the fall of 2019.

At the end of the final mediation session, the parties had
not reached an agreement, but after several additional days of

email and phone communications between the parties themselves and
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 3 of 29 PagelD# 4607

between the parties and the mediator, the parties came to a
preliminary agreement. Once the material provisions of the
Settlement were decided, the negotiation moved to attorneys’ fees,
costs, and service awards for the Named Plaintiffs.

On October 29, 2019, the parties executed a Memorandum of
Understanding outlining the material terms of a settlement. On
October 30, 2019, Notice of Settlement was filed with the Court.

The Court granted preliminary approval of the Settlement on
January 15, 2020 and directed notice to the Settlement Class.
Potential class members were then given the option to opt-out or
object to the Settlement.

Of the 32 objections initially submitted by potential class
members, 13 unique objections! were directed specifically to the
proposed award for attorneys’ fees, the award for costs, and the
service awards for the Named Plaintiffs. At the hearings on July
10, July 20, and September 11, 2020, objectors were afforded the
opportunity to present their objections before the Court, and Class
Counsel and the Defendants were then given time to respond to each
of the objectors.

The Settlement
Under the terms of the proposed Settlement, the Settlement

Class will receive (1) enhanced disclosures regarding Defendants’

 

1 That is, ECF Nos. 116, 119, 120, 121, 122, 123, 127, 128, 133,
149, 158, 159, 161, and 172.
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 4 of 29 PagelD# 4608

plans to raise premiums in the future and (2) the option to choose
to keep their current policy as is or to convert the policy into
one of five new “Special Election Options.” Many of the options
entitle class members to receive cash damage payments.

As a reward for securing these benefits for the Settlement
Class, Class Counsel requests a flat fee of $2 million for their
efforts in securing the enhanced disclosures by way of injunction
and a “contingent fee” award of 15% of any cash damages given to
class members with a cap of $24.5 million and a floor of $10
million. This fee award would be supplemented by an award to Class
Counsel for reasonable expenses relating to the litigation
($64,398.66) and a service award for Named Plaintiffs ($25,000
each).

The Special Election Options

The value of the five Special Election Options—which the
parties attest are unique to the Settlement and have never before
been offered to policyholders—is the key to understanding the value
of the Settlement as defined by the parties. It is, therefore,
necessary to review these five options in some detail.

Two of these Special Election Options are known as “Paid-up
Benefit Options” or “Non-Forfeiture Options” (“PBO/NFOs”) and

three are “Reduced Benefit Options” (“RBOs”).? In general, under

 

2 For simplicity, all descriptions of benefits assume that the
class members have not already begun receiving benefits under their
policies. If they have, the value of the benefits that the class

4
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 5 of 29 PagelD# 4609

the PBO/NFO options, a class member can stop paying premiums on
their policy and still receive some benefits under the policy
and/or Cash Damages. In contrast, under an RBO option, the policy
holder will continue to pay premiums, but those premiums will be
lowered in exchange for other changes to the policy such as a
reduced maximum daily benefit, a reduced benefit period, a reduced
total lifetime benefit, the loss of inflation protection, etc.

Under the first PBO/NFO option, class members can elect to
stop paying premiums entirely and receive enhanced benefits that
are essentially double however much the policy holder has paid in
premiums over the lifetime of the policy. Under the second PBO/NFO
option, class members can elect to stop paying premiums, receive
less enhanced benefits than in Option 1 and also receive a cash
damages award.

Under the three RBO options, class members can receive various
combinations of reduced benefits in exchange for reduced premiums
and cash damage awards.

To better illustrate the five Special Election Options, a
chart created by the parties for a hypothetical class member is
replicated below. See JOINT STATEMENT OF POSITION IN RESPONSE TO
THE COURT’S JULY 21, 2020 ORDER (“Joint Statement”) at 11, ECF No.

203.

 

member has received will need to be subtracted from the benefits
available to the class member under each Special Election Option.

5
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 6 of 29 PagelD# 4610

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Option i: Option 2: Option 3: Option 4: Option 5:
Benefits Enhanced Basic Remove Remove Reduce
Reduced Reduced Inflation Inflation Benefit
Paid-Up Paid-Up Benefit & Benefit & Period from
Benefit Benefit Revert to 25% [Lifetime]
Plus Cash Original Reduction to [x]
Payment Benefit to Certain Years &
Levels Plus Maximum Reduce
Cash Benefits Lifetime &
Payment Plus Cash Daily
Payment Benefit
Maximums,
Plus Cash
Payment
Cash Damage N/A None $(11,585.55 | $[7,744.88] $[(1, 914.25] $[6, 245.96]
Payments ]
Maximun $ {343.80} $[343.80) $(343.80) $(150.00] $[257.85] $(257.85]
Daily
Benefit
Inflation [Compound [None] (None] (None] (None] (Compound
Benefit (5]%] [51%]
Elimination (100} Days (100] Days [100] Days {100] Days (100] Days (100) Days
Period
Benefit {Unlimited)] (N/A]} (N/A] [Unlimited] (Unlimited) [6 years]
Period
Total [Unlimited] $[(72,409,.66 $[(24,210.80 (Unlimited] [Unlimited] $(564,691.5
Lifetime ] ] [**] (**] ou[**)
Benefit
Annual $[3, 963.52] Pay no Pay no $ [2,027.30] $[(3,484.96] $(2, 402.03)
Premium further further
premiums premiums

 

Any attorneys’
service awards)
benefits being provided to the class,
the requested attorneys’
benefits the class members select.
selects the first RBO/NFO option,
Class Counsel would receive nothing in attorneys’

class member.

fees that are awarded

In contrast,

(as well as costs and
will be paid by Defendants independent of the
and the Defendants will pay
fees on a rolling basis based on which

For example, if a class member
which has no cash damage award,
fees for that

if a class member selects the second

RBO/NFO option and receives a cash damage award of $11,585.55,

Defendants

$1,737.83) in attorneys’

would pay Class

Counsel 15%

fees for that class member.

of $11,585.55 (i.e.,

 
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 7 of 29 PagelD# 4611

Putting this all together, under the proposed Settlement, if
all 207,400 class members selected the first RBO/NFO option, the
cash damages would total $0, but because of the floor, Class
Counsel would, nevertheless, receive $10 million in attorneys’
fees-in addition to the $2 million award that Class Counsel
requests for the injunctive relief. If all 207,400 class members
selected the second RBO/NFO option and all class members received
the average cash damage award of $11,585.55, the cash damages would
total roughly $2.4 billion, but because of the cap, Class Counsel
would only receive $24.5 million in “contingent” fees, not 153 of
$2.4 billion—and again, this is in addition to the $2 million award
that Class Counsel requests for the injunctive relief.

The Value of the Settlement

The dollar value of the Settlement, at least as articulated
to the Court, has been something of an evolving concept. Class
Counsel have repeatedly argued that the value of the Special
Election Options is a hard-to-quantify function of: (1) the cash
damages awards and (2) any enhanced benefit options. See, e.g.,
MEMORANDUM OF LAW IN SUPPORT OF CLASS COUNSEL'S APPLICATION FOR AN
AWARD OF ATTORNEYS’ FEES AND EXPENSES AND SERVICE AWARDS TO THE NAMED
PLAINTIFFS (“Attorneys’ Fees Memorandum”) at 2, ECF No. 143.

However, in their most recent filing, Defendants report that
based on their past policyholder experiences, the actuarily

reasonable estimate of the settlement fund is a range of $80
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 8 of 29 PagelD# 4612

million to $174 million. DEFENDANTS’ MEMORANDUM IN RESPONSE TO
THE COURT’S SEPTEMBER 16, 2020 ORDER at 2, ECF No. 213. The
estimate is $130 million if the low and high scenarios are
eliminated.

The Court will treat this range as the parties’ “final answer”
on the value of the Settlement.

Attorneys’ Fees Requested

At the hearing on September 11, 2020, Class Counsel indicated
that they would consent to having the $10 million floor removed.
Tr. at 50:1-10, Sept. 11, 2020, ECF No. 209. However, in their
most recent filing, Class Counsel appears to argue against having
the floor removed. CLASS COUNSEL’S SUPPLEMENTAL MEMORANDUM
PURSUANT TO THE COURT’S SEPTEMBER 14, 2020 ORDER at 9, ECF No.
211. We will, therefore, assume for the purpose of our analysis
that Class Counsel is still requesting a floor of $10,000,000 on
their 15% contingency payment.

II. LEGAL STANDARD

There are two basic approaches to calculating reasonable
attorneys’ fees in a class action case: the “percentage of
recovery” or “percentage of the fund” method and the lodestar

method. Brown v. Transurban USA, Inc., 318 F.R.D. 560, 575 (B.D.

 

Va. 2016). Under the percentage of the fund method, fees are
awarded based on a percentage of the benefit secured for the

settlement class. Brown, 318 F.R.D. at 575. Under the lodestar
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 9 of 29 PagelD# 4613

method, fees are awarded based on the value of the attorneys’ time
spent litigating the claims. Brown, 318 F.R.D. at 575. The Fourth
Circuit has not explicitly mandated which method district courts
should use. Brown, 318 F.R.D. at 575. A district court,
therefore, has discretion to use either method. Grissom v. The
Mills Corp., 549 F.3d 313, 320 (4th Cir. 2008).

Nevertheless, over time, certain customs have developed, both
in the Fourth Circuit and across the country; for example, the
favored method for calculating attorneys' fees in common fund cases
is the percentage of the fund method. See Brown, 318 F.R.D. at
575. And in a fee shifting case, the award is typically calculated
using the lodestar method. See, e.g., Landwehr _v. AOL, Inc., No.
1:11-cv-1014, 2013 WL 1897026, at *1 (E.D. Va. May 1, 2013). In
any case, courts will typically employ one method as the primary
calculation method and use the other method as a cross check on
the reasonableness of the first. See, e.g., In re Genworth

Financial Securities Litigation, 210 F. Supp. 3d 837, 843 (E.D.

 

Va. 2016).
Constructive Common Funds

In addition to the straight common-fund or straight fee
shifting arrangement, there is also a hybrid situation known as a
“constructive common fund” in which there is one fund for the

claimants and one for the attorneys. In re Heartland Payment

 

Systems, Inc. Customer Data Sec. Breach Litigation, 851 F. Supp.

 
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 10 of 29 PagelD# 4614

2d 1040, 1072 (S.D. Tex. 2012); see also Clark v. Experian Info.

 

Solutions, Inc., No. 8:00-1217-22, 2004 U.S. Dist. LEXIS 32063, at
*37  (D.S.C. Apr. 22, 2004) (recognizing the concept of the
constructive common fund).

In general, the percentage of the fund method is still
appropriate for constructive fund cases with the lodestar used as

a cross-check. See In re Heartland, 851 F. Supp. 2d at 1072; see

 

also Clark, 8:00-1217-22, 2004 U.S. Dist. LEXIS 32063, at *37
(applying the percentage of the fund method to a constructive fund
case based on the absence of contrary case law). “This approach
is particularly appropriate when the value of the judgment or
settlement is uncertain.” In re Heartland, 851 F. Supp. 2d at
1073.

Lodestar Method

Using the lodestar method, a court must first determine the
lodestar figure by multiplying the number of reasonable hours
expended by a reasonable rate. Brown, 318 F.R.D. at 575. The
burden of proof is on the applicant to establish that the hourly
rate(s) are reasonable. Grissom, 549 F.3d at 321.

“Although the determination of a market rate in the legal
profession is inherently problematic, as wide variations in skill
and reputation render the usual laws of supply and demand largely
inapplicable, the [Supreme] Court has nonetheless emphasized that

the market rate should guide the fee inquiry.” Grissom, 549 F.3d

10
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 11 of 29 PagelD# 4615

at 321 (quoting Plyler v. Evatt, 902 F.2d 273, 277 (4th Cir.
2008)). “(T]he community in which the court sits is the first
place to look to in evaluating the prevailing market rate.”
Grissom, 549 F.3d at 321 (citing Rum Creek Coal Sales, Inc. v.
Caperton, 31 F.3d 169, 179 (4th Cir. 1994)). But an attorney’s
actual billing rate can also be considered. See Brown, 318 F.R.D.
at 575.

Reasonableness

Once a figure has been calculated using the percentage of the
fund or lodestar method, a court must determine if that result is
reasonable.

Although the touchstone of the inquiry is always
reasonableness, it is no longer clear exactly which factors the
courts in this circuit should apply when assessing the
reasonableness of proposed attorneys’ fees in percentage of the
fund cases. In particular, there is considerable confusion
regarding whether the proper test is the 12-factor Johnson test
from the Fifth Circuit or the seven-factor Gunter test from the
Third Circuit.

The Johnson Factors

In 1978, the Fourth Circuit adopted the 12-factor Johnson

test from the Fifth Circuit. See Barber v. Kimbrell’s, Inc., 577

 

F.2d 216, 226 n.28 (4th Cir. 1978). The twelve Johnson factors

are

11
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 12 of 29 PagelD# 4616

(1) the time and labor expended; (2) the novelty and
difficulty of the questions raised; (3) the skill
required to properly perform the legal services
rendered; (4) the attorney’s opportunity costs in
pressing the instant litigation; (5) the customary fee
for legal work; (6) the attorney’s expectations at the
outset of litigation; (7) the time limitations imposed
by the client or circumstances; (8) the amount in
controversy and the results obtained; (9) the
experience, reputation[,] and ability of the attorney;
(10) the undesirability of the case within the legal
community in which the suit arose; (11) the nature and
length of the professional relationship between
attorney and client; and (12) attorneys’ fees awards
in similar cases.

Brown, 328 F.R.D. at 577 (quoting Barber v. Kimbrell’s, Inc., 577

 

F.2d 216, 226 n.28 (4th Cir. 1978)). While a district court has
discretion to determine the amount of the fee award, the court
must provide detailed findings of fact to support the factors it
considers. Barber, 577 F.2d at 226; Grissom, 549 F.3d at 320.
However, the Court need not address all twelve Johnson factors
independently because many of these considerations are subsumed in
the calculation of the hours’ reasonably expended and _ the
reasonableness of the hourly rate. Brown, 328 F.R.D. at 577.
Moreover, the result obtained for the class is often treated as

the most important factor. In re Genworth Financial Securities

 

Litigation, 210 F. Supp. 3d 837, 843 (E.D. Va. 2016).

The Gunter Factors |

Under this test, the reasonableness factors are: (1) the
results obtained for the class; (2) the quality, skill, and

efficiency of the attorneys’ involved; (3) the complexity and

12
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 13 of 29 PagelD# 4617

duration of the case; (4) the risk of nonpayment; (5) awards in
similar case; (6) objections; and (7) the amount of time devoted
to the case by plaintiffs’ counsel. Gunter v. Ridgewood Energy
Corp., 223 F.3d 190, 195 n.1 (3d Cir. 2000). As with the Johnson
factors, not all factors are equally weighted in every case. See

In re Cendant Corp. PRIDES Litigation, 243 F.3d 722, 735 (3d Cir.

 

2001).

Analysis

By the terms of Barber, the Johnson test was supposed to be
used “in any case where such determination is necessary.” Barber,
577 F.2d at 226 (emphasis added). Courts in the Fifth Circuit,
from which the Johnson test originated, apply the Johnson factors
to attorneys’ fees calculated under both the percentage of the
fund and the lodestar method. See, e.g., In re Heartland, 851 F.
Supp. 2d at 1075 (applying the Johnson factors to a constructive
common fund case); see also Waters v. International Precious Metals
Corp., 190 F.3d 1291, 1294-1297 (lith Cir. 1999) (reviewing a
district court’s application of the Johnson factors in a percentage
of the fund case).

Some courts in this circuit continue to apply the Johnson
factors, but those courts are usually assessing the reasonableness
of attorneys’ fees that were primarily calculated through the
lodestar method. See, e.g., Brown, 318 F.R.D. at 577-578; but see

Berry v. Wells Fargo & Co., No. 3:17-cv-304, 2020 U.S. Dist. LEXIS

 

13
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 14 of 29 PagelD# 4618

143893, at *30-*32 (D.S.C. July 29, 2020) (applying the Johnson

factors to a percentage of the fund case); Sims v. BB&T Corp., No.

 

1:15-cv-732, 2019 U.S. Dist. LEXIS 75839, 2019 WL 1993519, at *10-
*12 (M.D.N.C. May 6, 2019) (same).

A significant number of courts have begun applying the seven-
factor Gunter test for percentage of the fund cases on the grounds
that the Barber/Johnson test is only meant to assess. the
reasonableness of attorneys’ fees calculated using the lodestar
method, see, e.g., Jones v. Dominion Resources Services, Inc., 601
F. Supp. 2d 756, 760 (S.D.W. Va. 2009)—or without justifying the
use of the Gunter test and merely applying it, see, e.g., Domonoske

v. Bank of Am., N.A., No. 5:09-cv-080, 2010 U.S. Dist. LEXIS 7242,

 

at *60 (W.D. Va. Jan. 27, 2010).
Though the Third Circuit’s seven-factor Gunter test seems to
be better suited to assessing the reasonableness of percentage of

the fund cases, see Clark v. Experian Info. Solutions, Inc., 8:00-

 

1217-22, 2004 U.S. Dist. LEXIS 32063, at *61 (D.S.C. Apr. 22,
2004), the use of the Gunter test does not appear to have been
blessed by the Fourth Circuit and may even be contrary to the
Fourth Circuit’s pronouncement of the Johnson test in Barber. See
Barber, 577 F.2d at 226.

To address this ambiguity, some courts in this circuit have
begun applying both tests to assess the reasonableness of

attorneys’ fees calculated using the percentage of the fund method.

14
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 15 of 29 PagelD# 4619

See, e.g., In re Genworth Financial Securities Litigation, 210 F.
Supp. 3d 837, 843 (E.D. Va. 2016); Clark, No. 8:00-1217-22, 2004
U.S. Dist. LEXIS 32063, at *61.

In the absence of clear guidance from the Fourth Circuit,
this Court will do the same.

Negotiated Fees

One final point of clarification is warranted as to the
reasonableness analysis in this circuit. Class Counsel have
repeatedly attempted to argue that negotiated fees are favored and
“{b]ecause Genworth has agreed to pay this [attorneys’] fee, ‘the
court need not inquire into the reasonableness .. . with the same
level of scrutiny as when the fee amount is litigated.’” See,
e.g., Attorneys’ Fees Memorandum at 12, ECF No. 143 (citation
omitted).

In the Fourth Circuit, the fact that the parties negotiated
a fee is not an explicit part of the reasonableness analysis under
either the Johnson or Gunter tests, though a court should still be
cognizant that “({a] request for attorneys’ fees should not result
in a second major litigation” and “[i]deally, of course, litigants

will settle the amount of a fee.” Hensley v. Eckerhart, 461 U.S.

 

424, 437 (1983). That said, a court still has a duty to class
members to ensure that attorneys’ fee awards are commensurate with
the amount of value actually going to the class members. Dominion

Res. Servs., 601 F. Supp. at 764-65; Berry v. LexisNexis Risk &

 

15
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 16 of 29 PagelD# 4620

Info. Analytics Group, Inc., No. 3:11-cv-754, 2014 U.S. Dist. LEXIS

 

124415, at *28 (E.D. Va. Sept. 5, 2014).
III. DISCUSSION

A. Attorneys’ Fees

Where, as here, there is one fund for class members and one
for attorneys’ fees, the two pools can nevertheless be treated as
one “constructive” common fund, and the percentage method is still
appropriate.

i. Reasonableness Analysis

To determine whether the attorneys’ fees requested by Class
Counsel are reasonable, the Court has considered the 12 Johnson
Factors and the seven Gunter factors. The Court finds that the
following Johnson factors weigh in favor of the reasonableness of
the requested fee award: (1) the amount involved and the results
obtained; (2) the requisite skill required; (3) the experience,
reputation and ability of the attorneys involved; (4) whether the
fee is fixed or contingent. The Court finds that the following
Johnson factors weigh against the reasonableness of the requested
fee award: (1) the time and labor expended; (2) the novelty and
difficulty of the questions; (3) awards in similar cases; and (4)
customary fee or rates. The Court does not consider (1) the
preclusion of other employment, (2) any time limitations, (3) the
undesirability of the case, or (4) the nature and length of the

relationship with the client because Class Counsel has offered no

16
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 17 of 29 PagelD# 4621

evidence that these factors are relevant to this case nor does the
Court have any independent reason to think that these factors would
affect its analysis.

Similarly, the Court finds that the following Gunter factors
weigh in favor of the reasonableness of the requested fee award:
(1) the size of the fund created and the number of persons
benefitted; (2) the presence or absence of substantial objections
by members of the class to the fees requested by counsel; (3) the,
quality, skill and efficiency of the attorneys involved; and (4)
the risk of nonpayment. The Court finds that the following Gunter
factors weigh against the reasonableness of the requested fee
award: (1) the complexity and duration of the litigation; (2) the
amount of time devoted to the case by Class Counsel; and (3) awards
in similar cases.

Balancing these factors—and heavily emphasizing the value
provided to the class members—the Court finds that a fee award of
$2,000,000 plus a 15% contingent fee with a cap of $24.5 million
is reasonable so long as there is no $10 million floor for
contingent attorneys’ fees.

a. Percentage-of-the-Fund Method

The first step in a common fund or constructive common fund
case is to ascertain the total value of the settlement. Here,
Defendants report that the actuarily reasonable estimate of the

settlement fund based on Defendants’ past policy holder

17
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 18 of 29 PagelD# 4622

experiences is a range of $80 million to $174 million. DEFENDANTS’
MEMORANDUM IN RESPONSE TO THE COURT'S SEPTEMBER 16, 2020 ORDER at
2, ECF No. 213. Class Counsel requests a $2 million fee for the
injunctive relief provided and a 15% contingency fee of the total
value of the settlement fund with a floor of $10 million and a cap
of $24.5 million. This functionally amounts to a request for fees
within a range of $12 million to $26.5 million. Combining Class
Counsel's request for attorneys’ fees with the Defendants’
valuation of the settlement, the “constructive” common fund is in
the range of $92 million to $200.5 million. Notwithstanding Class
Counsel’s emphasis on the reasonableness of a 15% fee, there are
scenarios under which the percentage fee would not be 15%.

If the settlement fund were $174 million or higher, Class
Counsel would only receive $26.5 million (combining the $2 million
flat fee with the $24.5 million ceiling) which is roughly 13% of
$200.5 million; however, if the settlement fund amounted to far
more than $174 million, the ultimate cap on Class Counsel’s fee
award could result in a percentage fee well below 15%.

Similarly, if the settlement fund were $80 million, Class
Counsel would receive $12 million ($10 million in contingency fees
and $2 million in its flat fee). Thus, Class Counsel would
functionally receive a percentage fee of 13% (using the

constructive common fund $92 million).

18
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 19 of 29 PagelD# 4623

In contrast, if the settlement fund ultimately amounted to a
figure below $80 million, Class Counsel could potentially receive
an amount well in excess of 15% of the fund. For example, if the
settlement were $30 million dollars, Class Counsel would still
receive $12 million because the floor would be triggered. In this
hypothetical case, Class Counsel would functionally be receiving
roughly 28.5% (using the constructive common fund of $42 million).

A percentage fee of 28.5% is not outside the realm of
reasonable percentage fee awards, but the Court is concerned that
the ultimate percentage fee awarded to Class Counsel will not be
determined until the class members make their decision whether to
maintain their current policies or to choose one of the five
Special Election Options. If the parties’ have significantly
overestimated the class members’ interest in the settlement
options and the settlement fund were somehow much lower than
expected, e.g. $10 million, Class Counsel would still receive $12
million under the attorneys’ fee arrangement proposed by the
parties—i.e., 54.5% of the constructive fund.

Importantly, the attorneys’ fee award will be paid by
Defendants from a separate fund that will not diminish class
members’ recovery.

With these parameters in mind, it is appropriate now to assess
the reasonableness of Class Counsels’ request using the Johnson

and Gunter factors.

19
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 20 of 29 PagelD# 4624

b. Size of the fund created and the number of persons
benefitted. Gunter factor. Amount involved and result
obtained. Johnson factor.

Class Counsel argue that they have secured two valuable
benefits for the Settlement Class: (1) more complete and adequate
disclosures regarding Defendants’ future premium increases, and
(2) five new never-before-seen Special Election Options to make up
for the harm imposed on class members by the lack of disclosures.
Attorneys’ Fees Memorandum at 1-2, ECF No. 143; see infra Part I
(describing the five Special Election Options). Class Counsel
describes the result as a “near complete recovery, if not more.”
Attorneys’ Fees Memorandum at 4, ECF No. 143 (citations omitted).

Indeed, the Settlement does, in fact, provide significant
recovery for the class members, many of whom could not replace
their long-term care insurance at this point because of the high
expense of starting such a policy later in life. TAC 9 7, ECF No.
90. Policyholders have the option to keep their current policies
as is or to cut their losses and receive significant damage awards
or a benefits award equal to double the premiums they have already
paid into the policy. See infra Part I. Thus, this factor weighs
in favor of the reasonableness of the requested fees.

c. The presence or absence of substantial objections by

members of the class to the settlement terms and/or fees
requested by counsel. Gunter factor.

Here, only 35 out of 207,400 class members even attempted to

object to the settlement (i.e., well under 1% of the class).

20
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 21 of 29 PagelD# 4625

Moreover, Class Counsel have reported a high-level of engagement
and excitement in the class. PLAINTIFFS’ REPLY IN SUPPORT OF (1)
MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND (2) CLASS
COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES AND
SERVICE AWARDS TO THE NAMED PLAINTIFFS (“Attorneys’ Fees Reply”)
at 1, ECF No. 177. Class Counsel has spoken to 4,000 class members
who had questions about the Settlement. Attorneys’ Fees Reply at
1, ECF No. 177. As of June 26, 2020, only 191 policyholders (less
than 1% of the class) opted out of the settlement. Attorneys’
Fees Reply at 1, ECF No. 177. Courts generally treat relatively
few objections and opt-outs as pointing to the adequacy of the

settlement. See In re The Mills Corp. Sec. Litig., 265 F.R.D.

 

246, 257-58 (E.D. Va. 2009). Additionally, none of the state
insurance regulators notified of the proposed Settlement have
objected to it. Attorneys’ Fees Reply at 1, ECF No. 177. The
Court finds that this factor points towards the reasonableness of
the requested attorneys’ fees.

d. The skill and efficiency of the attorneys involved. Gunter
factor. The requisite skill required and the experience,
reputation and ability of the attorneys. Johnson factor.

Class Counsel submitted a list of all of their accomplishments

representing local and national plaintiffs. See Ex.’s 6-9, ECF

Nos. 93-6-93-9. The Court has no doubt that Class Counsel are

competent, experienced, and skilled attorneys. The Court finds

21
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 22 of 29 PagelD# 4626

that this factor points towards the reasonableness of the requested
attorneys’ fees.

e. The complexity and duration of the litigation and the
amount of time devoted to the case by Class Counsel.
Gunter factors. The time and labor expended, the novelty
and difficulty of the questions, and the requisite skill
required. Johnson factors (last factor also listed in (d)
above).

Here, the legal question was not itself particularly

complicated, cf. Kruger v. Novant Health, Inc., No. 1:14-cv-208,

 

2016 U.S. Dist. LEXIS 193107, 2016 WL 6769066, *2 (M.D.N.C. Sept.
29, 2016) (noting that enhanced fee awards are common in a “complex
ERISA 401(k) fee case such as this matter”), but Class Counsel did
complete “core” discovery before finalizing settlement
negotiations. Attorneys’ Fees Memorandum at 2, ECF No. 143. This
included a review of roughly 200,000 pages of documents, deposing
two key defense witnesses, preparing the Named Plaintiffs for their
depositions, and requesting and responding to interrogatories.
Attorneys’ Fees Reply 7 10, ECF No. 177. Given that the time and
effort counsel expended were fairly typical for a class action
lawsuit, the Court finds that this factor slightly weighs against
the reasonableness of the high attorneys’ fees requested.

£. The risk of nonpayment. Gunter factor. Whether fee is fixed
er contingent. Johnson factor.

Here, the risk of non-payment was very real, see DECL. OF
RODNEY A. MAX @ 17, ECF No. 93-2 (“After reviewing written

materials the parties submitted to me, and discussing the same

22
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 23 of 29 PagelD# 4627

with them separately prior to the first mediation session, I
believed that the negotiations would be difficult and adversarial
and that all involved would hold strong to their convictions that
they had the better legal and substantive arguments, and that a
resolution without further litigation or trial was by no means
certain.”); however, the risk of nonpayment was also substantially
reduced fairly quickly. See DECL. OF RODNEY A. MAX @ 11, 23, ECF
No. 93-2 (noting that parties first contacted him regarding
mediation on August 1, 2019 and the Memorandum of Understanding
was drafted on October 29, 2019). Settlement negotiations began
roughly eight months into the case. DECL. OF RODNEY A. MAX @ 11,
ECF No. 93-2. And the parties had executed a Memorandum of
Understanding by October 29, 2019. DECL. OF RODNEY A. MAX @ 23,
ECF No. 93-2. The Court finds that this factor weighs slightly in
favor of the reasonableness of the requested fee.

g. Awards in similar cases. Gunter and Johnson factor.

Customary fee or rates. Johnson factor.

Class Counsel argue that a 15% fee is a perfectly normal

percentage fee in this circuit. They are correct on that point.

See In re Genworth Financial Securities Litigation, 210 F. Supp.

 

3d 837, 845 (E.D. Va. 2016) (awarding a percentage fee of 28% and
noting that courts have found percentage fess of 25-33.3% to be
reasonable). However, the Court is concerned that, if the parties

have misjudged class members’ interest in the settlement, the

23
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 24 of 29 PagelD# 4628

percentage fee may be well above 15%, and it will appear that Class
Counsel have received a windfall payment for a settlement that was
not perceived as useful by the class.

The risk of a windfall payment where there is a floor of $12
million weighs against the reasonableness of the settlement.
Removing the $10 million floor would ensure that the attorneys are
not receiving a significant award for a settlement that the class
does not find particularly useful. If the $10 million floor were
removed, the Court believes that this factor would weigh in favor
of the reasonableness of the fee.

h. Lodestar Cross-Check

Under Class Counsel’s most-recent hours report calculated at
the local Richmond rates, the lodestar figure is $2,926,882.45.3

That lodestar figure would be 0.68 times the requested flat
fee of $2 million, 4.1 times the requested floor of $12 million
(including both the $2 million flat fee and the $10 million
contingency fee floor), and 9.05 times the requested ceiling of
$26.5 million (including both the $2 million flat fee and the $24.5

million contingency flat ceiling) .4

 

3 Ex. E at 2, ECF No. 212-12. That lodestar figures reflects
6,233.5 hours of work. Ex A. (“Goldman Scarlato & Penny Hours”)
at 2, ECF No. 212-8 (2,932.55); Ex. B (“Robbins Geller Rudman &
Dowd Hours”) at 2, ECF No. 212-9 (2,786.40); Ex. C (“Phelan Petty
Hours”) at 2, ECF No. 212-10 (239.45); Ex. D (“Berger Montague
Hours”) at 2, ECF No.212-11 (275.10).

4 Even at Class Counsel’s “Actual Billing Rages,” the multiplier
would still be 8.05. See Ex. E at 2, ECF No. 212-12.

24
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 25 of 29 PagelD# 4629

The first two multipliers are clearly within the range of

reasonable awards applied in this circuit. See Jones v. Dominion

 

Res. Servs., 601 F. Supp. 2d 756, 766 (S.D.W. Va. 2009) (noting
that courts treat 2-4.5 as a reasonable range for attorneys’ fees);

see also Hooker v. Sirius XM Radio, Inc., No. 4:13-cv-003, 2017

 

U.S. Dist. LEXIS 201809, at *24 (E.D. Va. May 11, 2017) (describing
the national average multiplier as 1.81 and a Fourth Circuit
average of 2.43). The latter is not, though it is not outside of
the realm of reasonableness. See, e.g., Stop & Shop Supermarket

Co. v. SmithKline Beecham Corp., No. CIV.A. 03-4578, 2005 WL

 

1213926, at *18 (B.D. Pa. May 19, 2005) (awarding a multiplier of
15.6 where the percentage fee award of 20% was reasonable and no
member of the sophisticated settlement class objected to the
proposed attorneys’ fees).

Two factors persuade the Court that a potential lodestar
multiplier of 9.05 is not unreasonable in this case. First, Class
Counsel would only receive $26.5 million if enough class members
choose one of the five Special Election Options negotiated by Class
Counsel (rather than keep their policy as is) and also select
Special Election Options with a cash damages component. In that
case, the settlement fund would have to be valued at roughly $163.5
million or higher (at which point the 15% contingency fee ceiling
would be triggered since $24.5 million is roughly 15% of $163.5

million). That is a sizeable award that can only be achieved if

25
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 26 of 29 PagelD# 4630

class members perceive the settlement negotiated by Class Counsel
as more valuable than the pre-litigation status quo. Second, the
lodestar is only used as a cross-check rather than the primary
method of assessing the reasonableness of the attorneys’ fees in
this case. Because the Court has found the 15% fee reasonable in
light of the significant value that Class Counsel has secured for
the class, the lodestar should not preclude recovery. See Dominion
Res. Servs., 601 F. Supp. 2d at 766 (“[T]he cross-check results do
not ‘supplant the court’s detailed inquiry into the attorneys’
skill and efficiency in recovering the settlement.’”) (citation
omitted).
B. Costs

Under Rule 23(h), a court may award reasonable non-taxable
costs to Class Counsel. Fed. R. Civ. P. 23(h). Reasonable costs
can include, among other things, costs related to computer legal
research, court reporting, court filing fees, deposition
transcripts, stenographer fees, travel, document duplication,
expert witness fees, photocopying, postal fees, and mediation

fees. In re Microstrategy, Inc. Securities Litigation, 172 F.

 

Supp. 2d 778, 791 (B.D. Va. 2001); Berry v. Wells Fargo & Co., No.

 

3:17-cv-304, 2020 U.S. Dist. LEXIS 143893, at *42 (D.S.C. July 29,
2020).
Here, the requested fees are for court fees; process servers;

transportation, hotels, and meals; court hearing transcripts;

26
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 27 of 29 PagelD# 4631

deposition reporting, transcripts, and videography; photocopies;
printing; legal and financial research; and mediation fees.
Goldman Scarlato Decl. {97 5-6, ECF No. 144; Robbins Geller Decl.
Ti 5-6, ECF No. 145; Berger Montague Decl. @ 5-6, ECF No. 147;
Phelan Petty Decl. 94 5-6, ECF No. 146. These expenses will be
paid directly by the Defendants. Attorneys’ Fees Memorandum at
19, ECF No. 143.

The Court finds these expenses to be legitimate and the
amounts to be reasonable given the complexity of the case, the
time and effort expended by Class Counsel, and the results

achieved. See In re Microstrategy, 172 F. Supp. 2d at 791.

 

c. Service Awards
Trial courts will typically authorize service awards to class
representatives for the time and effort they expended for the

benefit of the class. Dominion Res. Servs., 601 F. Supp. 2d at

 

767. Service awards are “‘intended to compensate class
representatives for work done on behalf of the class, to make up
for financial or reputational risk undertaken in bringing the
action, and, sometimes, to recognize their willingness to act as

a private attorney general.’” Berry v. Schulman, 807 F.3d 600,

 

613 (Ath Cir. 2015) (citing Rodriguez v. W. Publ’g Corp., 563 F.3d

 

948, 958-59 (9th Cir. 2009)).
Here, Named Plaintiffs request $25,000 each which will be

paid directly by Defendants. Attorneys’ Fees Memorandum at 19,

27
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 28 of 29 PagelD# 4632

ECF No. 143. Named Plaintiffs report that they spent time helping
Class Counsel draft the complaint; working with Class Counsel to
respond to interrogatories—including responding to questions
regarding Named Plaintiffs’ financial and medical circumstances;
preparing for depositions; and sitting for depositions. Skochin
Decl. 91 3-9, ECF No. 138; J. Skochin Decl. 9I9 3-9, ECF No. 139;
Huber Decl. TT 3-9, ECF No. 140.

Courts in this circuit have both accepted and rejected service
awards of $25,000 based on the specifics of the case involved.
Compare Stone v. SRA Int'l, Inc., No. 2:14-cv-209, 2015 U.S. Dist.
LEXIS 75839, 2015 WL 1274871, at *17 (E.D. Va. 2015) (denying
request for $25,000 for class representatives who prepped for and
participated in a deposition; attended a mediation; and signed a
broader release of claims than other class members) with Kruger v.

Novant Health, Inc., No. 1:14-cv-208, 2016 U.S. Dist. LEXIS 193107,

 

at *17-*18. (M.D.N.C. Sept. 29, 2016) (approving request for
$25,000 for class representatives in an ERISA case where there was
a substantial reputational risk in bringing the claim).

The Court finds a $25,000 Service Award to be reasonable in
this case given the time and effort expended by Named Plaintiffs
and in perspective of the fact that their efforts helped to secure

a settlement that is highly beneficial to the class.

28
Case 3:19-cv-00049-REP Document 221 Filed 11/13/20 Page 29 of 29 PagelD# 4633

D. Objections

A number of objections were lodged as to the amount of the
fees, costs, and service awards requested. See ECF Nos. 116, 119,
120, 121, 122, 123, 127, 128, 133, 149, 158, 159, 161, and 172.
Those objections are overruled for the same reasons that the fees,
costs, and service awards were approved. There is, thus, no need
to discuss those objections separately.

CONCLUSION

For the foregoing reasons, Class Counsel’s Motion for
Attorneys’ Fees (ECF No. 143) will be GRANTED to the extent that
Class Counsel will be awarded attorneys’ fees amounting to $2
million and 15% of the Settlement Class’ net damage awards with a
cap of $24.5 million; (2) Class Counsel will be awarded expenses
in the amount of $64,398.66; and (3) Named Plaintiffs will be

awarded $25,000 each for their service.

It is so ORDERED.

isi JOE

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: November pay, 2020

29
